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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
MEF                                                271 Cadman Plaza East
F. #2019R00591                                     Brooklyn, New York 11201



                                                   June 7, 2021

By ECF and Email

The Honorable William F. Kuntz, II.
United States District Court
Eastern District of New York
271 Cadman Plaza East
Brooklyn, New York 11201

              Re:    United States v. Elijah Wells
                     Criminal Docket No. 19-193 (WFK)

Dear Judge Kuntz:

               The government respectfully submits this letter in connection with the
sentencing of the defendant Elijah Wells, which is scheduled for June 11, 2021. For the
reasons set forth below, the government respectfully submits that a sentence within the
United States Sentencing Guidelines (“Guidelines or “U.S.S.G.”) range of 30 to 37 months’
imprisonment is appropriate in this case.

       I.     Background

                On or about April 8, 2019, the defendant was arrested pursuant to a warrant
supported by probable cause to believe that, days earlier, he was found by New York City
Police (“NYPD”) Officers in possession of drugs and a loaded gun. See Complaint (ECF
No. 1). Specifically, on March 30, 2019, three NYPD officers (the “Officers”) were
patrolling in an unmarked police car near 108th Street and Stanley Avenue in Brooklyn.
Presentence Investigation Report (“PSR”) ¶ 4. While patrolling that area, the Officers
observed a Blue 2013 Lexus Sedan (the “Vehicle”), which was parked approximately one car
length from the curb and next to a construction zone. Id. The Officers observed smoke
emanating from the Vehicle, and they could smell a strong odor of marijuana both from
inside of their police vehicle and when they approached the Vehicle. Id. at ¶¶ 4-5.

               Upon approaching the Vehicle, Officer Brandon Agosto, who was sitting in
the rear, observed one male in the driver’s seat (the “Driver”) and the defendant Elijah Wells
in the passenger seat. Id. at ¶ 5. Officer Agosto informed the Driver that he could smell
marijuana emanating from the car, and the Driver stated in substance that he had been
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smoking marijuana earlier in the day. Id. The Officers could also smell air freshener
emanating from the Vehicle. Id. Officer Syed Mahmud, who had been driving the police
vehicle, asked the Driver if he had just sprayed air freshener, and the Driver responded in
substance that Mahmud must be smelling his cologne. Id. Officer Agosto ordered the Driver
to exit the Vehicle, at which point he observed a marijuana cigarette on the floor of the
driver’s side of the Vehicle, which he later recovered. Id.

               Sergeant Paul Padilla then ordered the defendant Elijah Wells to exit the
Vehicle and asked Wells if he had any weapons on his person. Complaint ¶ 4. Wells
responded that he did not. Id. When Wells exited the vehicle, Sergeant Padilla observed
Wells gesture towards the right front pocket of Wells’ pants with his right hand. PSR ¶ 6.
For the safety of the Officers, Sergeant Padilla conducted a pat down of Wells and felt the
handle of a firearm in the right front pocket of Wells’ pants. Id. Sergeant Padilla then
signaled to Officer Agosto to come over to the passenger side of the Vehicle. Sergeant
Padilla held the defendant’s arms behind his back as Officer Agosto placed handcuffs on
him. Id. Sergeant Padilla then recovered a loaded .22 caliber firearm from the right front
pocket of Wells’ pants. Id. When Sergeant Padilla showed Wells the aforementioned
firearm, Wells stated in sum and substance, “I promise you that shit don’t work.” Both
Wells and the Driver were placed under arrest. Id.

              Thereafter, the Officers recovered marijuana from the Driver’s pants as well as
the defendant’s right front pants pocket. Id. at ¶ 7. An examination of the firearm by law
enforcement agents showed it to be manufactured in Brazil. Id.

               At the time of this conduct, the defendant, then 23 years old, had already
incurred a felony conviction in New York State for possessing a loaded handgun, as well as
convictions for felony attempted assault and misdemeanor assault. Id. at ¶ 8.

              Following the defendant’s arraignment, United States Magistrate Judge Lois
Bloom entered a temporary order of detention, which she converted to a permanent order of
detention on April 9, 2019.

               On April 25, 2019, a grand jury sitting in the Eastern District of New York
returned an indictment charging the defendant with being a felon in possession of a firearm,
in violation of 18 U.S.C. § 922(g)(1) (the “Indictment”). ECF No. 8.

               On February 14, 2020, following the defendant’s unsuccessful attempt to
suppress evidence, namely, the gun, the drugs and his statement to the arresting officer that
the gun was inoperable, see Decision and Order (ECF No. 35), he waived indictment and
pled guilty to a superseding information, again charging him with being a felon in possession
of a firearm. The defendant’s plea was pursuant to an agreement (the “Plea Agreement”), in
which the parties agreed that the applicable Guidelines range was 30 to 37 months’
imprisonment. The U.S. Probation Department later agreed with this calculation. PSR at
¶ 70.




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       II.    Argument

               The government respectfully submits that a sentence within the Guidelines
range of 30 to 37 months’ imprisonment would be sufficient, but not greater than necessary,
to achieve the goals of sentencing.

              The sentencing factors articulated in Title 18, United States Code, Section
3553(a), underscore the need for a substantial term of incarceration in this case. The “nature
and circumstances of the offense,” possession of a firearm by a previously-convicted felon, is
serious.

               Moreover, the defendant’s particular criminal history underscores the danger
presented by his possession of a firearm. As outlined in the PSR, the defendant began
committing crimes at a very young age, and he already has two assault convictions, one of
which is a felony. Id. at ¶ 26. The felony assault occurred at Riker’s Island Correctional
Facility, which involved the defendant punching a correction’s officer and slamming him to
the ground. Id. Additionally, in January of 2019, the defendant was convicted of criminal
possession of a weapon in the third degree, which pertained to a .9 millimeter firearm
recovered from the defendant upon apprehension. Id. Although it is not the subject of a
criminal conviction, it is worth noting that most recently the defendant was found to be in
possession of a metal shank while at the Metropolitan Detention Center (“MDC”), which was
found under his mattress on September 20, 2020. PSR Addendum at 2. The government
does acknowledge, however, that while at the MDC, the defendant has endeavored to
improve himself by taking various classes and working as an orderly. Id. at 1.

              For these reasons, the Court should impose a sentence within the applicable
Guidelines range of 30 to 37 months’ imprisonment, to reflect the seriousness of the
defendant’s crimes and the specific characteristics of this offender. Possession of a firearm
by the defendant in this case is a dangerous crime, and the sentence should reflect the
specific danger posed by this defendant, as well as the need to promote respect for the law
and to underscore that other similarly situated felons should not possess firearms.




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       III.   Conclusion

              For the foregoing reasons, the government respectfully requests that the Court
impose a sentence within the applicable Guidelines range of 30 to 37 months’ imprisonment.



                                                 Respectfully submitted,

                                                 MARK J. LESKO
                                                 Acting United States Attorney

                                          By:     /s/
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cc:    Mia Eisner-Grynberg, Esq. (by ECF and E-mail)
       Clerk of Court (WFK) (by ECF and E-mail)




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